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ATTORNEY FOR DEBTOR

                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

IN RE:                                           §           CASE NO. 13-32515-BJH
BETTY RUTH ARTIS                                 §
                                                 §
                                                 §
                DEBTOR                           §           CHAPTER 13
                                                 §

                DEBTOR’S MOTION TO REOPEN AND DISCHARGE CASE
TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:
       COMES NOW, Debtor, Betty Ruth Artis, by and through her attorney of record, Richard D.
Kinkade, P.C., who hereby moves this Court to Reopen and Discharge case and in support thereof
would respectfully show the Court as follows:
       1.       Debtor filed Chapter 13 Bankruptcy on 5/11/2013.
       2.       The case was closed without a Discharge on 6/22/2018 for failure to file a
Certification and Motion for Entry of Chapter 13 Discharge. Debtor reviewed and signed the Motion
on 7/12/2018.
       WHEREFORE, PREMISES CONSIDERED, the Debtor respectfully requests that the Court
Reopen and grant the Debtor her Discharge and for such further and other relief to which the Debtor
may be justly entitled.
                                              Respectfully Submitted,

                                              /s/ Richard D. Kinkade
                                              Richard D. Kinkade, State Bar No. 11477350
                                              2121 West Airport Freeway, Suite 400
                                              Irving, Texas 75062
                                              Tel. 972.256.4444 / Fax 972.258.8817
                                              ATTORNEY FOR DEBTOR
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                               CERTIFICATE OF SERVICE


        I hereby certify that I served the foregoing instrument via ecf and/or first-class mail, postage
prepaid, to the following:

TRUSTEE:
Thomas Powers
105 Decker Court
Suite 1150
Irving, TX 75062

U.S. TRUSTEE:
United States Trustee
1100 Commerce St., Rm. 976
Dallas, TX 75242

DEBTOR:
Betty Ruth Artis
736 Cresent Dr
DeSoto, TX 75115

and to all creditors on the attached mailing matrix.


Dated this 12th day of July, 2018.


                                                /s/ Richard D. Kinkade
                                                RICHARD D. KINKADE
                                                ATTORNEY FOR DEBTOR
